4 . Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 2 of 35

EXHIBIT D

 

MERRILL LYNCH & CO., INC,

LONG-TERM INCENTIVE COMPENSATION PLAN
FOR MANAGERS AND PRODUCERS

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 1 of 34
4 i. Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 3 of 35

TABLE OF CONTENTS

 

PAGE
ARTICLE I~ GENERAL ..scccsssecsscrsrsenerue renaeraninsarviarnaenseentatennesraceernrrarentermeenerntoneses |

Section 1.4 PUPOSS....casssceessecseceerenonsconscenesscnpeerepeneressesssesaneerveerpresiateterie

Section 1.2 Desens ....,,cseresceceessseccss sates pevevenuedessverenversuntersonaeensereveserenre T
(a) “Board of Directors OF "Board sscssesreatecrtennsrearentersnns
{D) MO acca stneereceneenersenensscese cece riediesneneasenen onseaeasonsanstes
(i) MOTTA” oo. eee ean ntaneeseseetieeneenere ssa sarinarseserscrerdtents
(oy SGOT TGS". a ssnecereesseneenrrerarreeesseesenenssecerererstetidate
(2) COMMON Stock! ost iesscssseeseseaa ven rarenereeasenecsneneets
CF) IDIGERSIILEY” costes cecsestcennesesencestseenesegeennececanestonrnuss cess ergegt eet
o)  "Rarly Matrisett Vette .eccerssesencanereneeersransssanenysesesesereaeees
fh) "Yunfor Preferred SIOCK™, .......ecctentesseraretersecanssentent ees
{I} "Other ML & Co, Securlty’ ..... ressrrececesrssenrseressrentinns
(i) PATHE D . cessscsenseesee sasetssepeneasannegitecnensecn eres Pete ae ded
(kK) “Performance Perlod! .... sss se seneresseneeseeseteteessrennnnne
(“Performance Share” ....sssreterseeseeeeseeersrerseenterssnaten
Cm) “Performance Unit! vessssrssccaeessensses rereneseecnasersnmeneeans
fn} "Restricted Period”, ese sccssssseccercerecttarherentaseenenneresresenns
(0) "Restricted Share”. cuesesscseneacsinencanemeacrenrtaedastetettees
(p) "Restricted Unit, .....ccsccssesnenesssverssnantsoneervnneernasenenensteane
fq) “Retirernenit! ....-esstsencsseneesneneecsceressanasaenarentaesantrrares
(8) "RUG HTS AQrGeMe4nt!. .. ec sresesseinsensicentescenereceeenerndeseren
(0 “Stock Appreciation RIGHT 0. -csrsesecstsserrersrstersteanensaes
(Uy SHOCK CHO «ees sssnnstsewsnegegtensienesesonsnensesenrvcten nisin
(Vv) "Vesting Period? .ssseypesecesessvenersnensotssnicessernestesante vans

+
+

on ts > Wo WwW OO wn MN NW ho ha he eS

Section 1.3 AcMMiStatlon se ccsseneererneneetensssaeases sere seancsaesibereerer setae
Sestion 1.4 Shares Subject to the PRR cv escctsnesccrsseer reer tinss cesses

Section 1.5 Eligibility and Participation. cs sstsneeeestieeperenestinescaeieres

ARTICLE If - PROVISIONS APPLICABLE TO PERFORMANCE SHARES
AND PERFORMANCE UNITS RAMONE PES yp OE Pye edema eee PPE END Pe 5

Section 2. Performance Periods and Restricted Periods ......ersteeseey 9
Section 2,2 Performance ODfACtVES ....eccesseetersersrennessnenerenrensaeteuis Ol

Section 2.3 Grants of Performance Shares and Ferformance Units ........ 6

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 2 of 34
Pm nt EE ES SR Re Pe EP A

Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page / 4 of 35

 

5 Section 2.4 Rights and Benefiis During Performance Period yrsesecscsescacsans 6

4 Section 2.5 Adjustntont with respect to Performance Shares and
; Performance Units ....ccssscseceonsnrarrsavereseisteesstenteceeear

Section 2.6 Payment of Performance Shares and Performance Units...

{)) Jfa Restricted Period has been asteblished...

oS

6

(2) Performance Shares wos eseessvesareissueseseasense 7
7

{ii} Ifa Restricted Period has net been established... a?

{Bb} Performance UMIte.. ssc nes esesceanieseveeeesenyeysneyesqaeancenes

Seciion 2.7 Termination of Ernploymant .........ccecs

 

 

 

(a) Prior to the end of a Performance Period. .,...csssees-n
{i} EdD 0. ecessansecerssceeanriegersen sure veencernmanensenecetennae
(i) «= Disability or Retirement. ci... cccsssesseceerseeeereeses
fii} Other Terminations... .

woo oS owt OW

(b) = After the end of a Performance Period but prior to

the end of a Restricted Pariod .........enenceccnccnunan &

(i) Death, Disability, or Retirement... eee 8

(i) One Terminations... esc sess ssicgreectns 8

Section 2.6 Deferral of Payment oc... sue aad
ARTICLE lil - PROMSIONS APPLICABLE TO RESTRICTED SHARES

AND RESTRICTED UNITS .. nears eee FUSE OMedaN snd He pA RadOaO pp eneden peeemr bans

Section 3.1 Vesting Parinds and Restricted Periods we:ssecsrsssescersesrerrares 9

Section 3.2 Grants of Restricted Shares anc Restricted UNIS. .ssecsecseee
Seption 3.3 Rights.and Restrictions Governing Resiricted Shares ...4........10
Section 3.4 Rights Governing Restricted Units... scescscsseterrcerrecemearenecreee dO

Section 3.6 Adjustment with respect tc to Restricted Shares and
Restrieted Units... do uresquenrepenesayeleqniterperccausecatescsseostsaeee dT

Section 3.6 Payment of Restricted Shares and Restricted Unita .....ece 41

{A} —- Restricted SHALES acc cececesacnuanerd eaverpaueceremsaprtsccncet
(DB) Restricted Units... csssreserserseterretrannereeteenenns vont
ij .

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 3 of 34
 

Saction 3.8

Section 3.9

ARTICLE IV « PROVISIONS APPLICABLE TO STOCK OPTIONS...

Section 4,4
Section 4.2
Section 4.3

Section 4.4

Section 4.5

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 4 of 34

Case 4:09-cv-01799

Section 3.7

Dacument 28-1

(c)

Termination o7 Employment «0. .scsccecennresssereasersererssnarie dd

Payrnient OF ‘TARGS oc cevessesevsatecserssesserssearsereverevenesesee Td

(a) —- Prior to the end of a Vesting Perlod wc esccsssseescced T
(i) Death ... whee LEEPER E RTPA Pa eT Pe wee dD
(ii} Disability or Retirement... v pecteenetetsereae 2
GE} Other Terminations... sssssyeerssssesscenes wl2
(b} = After the end of a Vesting Period but A prior
ta the and of a Restricted Period... snsshaverssestenen bE

() Death, Disability, o Relrorment .....ccsssesseeeeel 2
Cf} Ot Sr Tereniatlonns vases sere sansareren sienearel
Extension of Vesting: Deferral of PAYTON center trees

Limitations on Transfer of Restricted Shares and Restricted
UIIIES .. eecccressnesreseaeeeteeseansaseransstansesenerrars vertseseseaser dl D

 

  

mand

Grartts of Stock OPO ...,. ce cssseresescesseeereses pees bE

Option Documentaion cc essesenenneaee wl

Exercise Price... wid4

Exercise of St0cK Options... sscsccssepeeseeecees cree ere ceneneernntcerseese

(a) Vesting and Exercisability.... wt

(b} = Option Period .. senses 4

(c) Exercise In the Event ‘of Termination of Emipi jayment.. 16

ti} Death... aver seseebepeneregestodis wt

(ii) Disability or Rotiremant, 0. certeeaepseneaerinneneces 48

(ik) Other Terminations ees essere a fh

(d) —_ Limitations on Transferablity ces sesesee reverse
Payment of Purchase Price and Tax mx Liability Upon

Exercise; Delivary of Shares... . srarntsanarrenreear do

(a) = Payrteni of Purchase Price wae stasroveer FO

(b} Payment OF Taxes .ccceceres cerserae LB

(c} Delivery of SHArGS .... ees senctereenrene rears eG

4s
ift

Filed in TXSD on 02/01/10 Page 5 of 35
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 6 of 35

Section 4.6 Limitation on Fair Market Value of Shares of Common
Stock Recalved upon Exercise of Incenlive Stack Options... 17

ARTICLE V - PROVISIONS APPLICABLE TO STOCK APPRECIATION

Section 5.1 Grants of Stock Appreciation RUghts ...sssssscssuessecnenenne TE

Section 5.2 Stock Appreciation Rights Granted in Connection
with Incentive Steck Options ... lneayeenaeravarenenerentensrensnerenye LE

Section 5.3 Payment Upon Exercise of Stock Appreciation Righis...........18
Section 5.4 ‘Termination of Employment ....csssreessccres ssuaeseesseneseeenrcianreried
(2) Daath. csescseepesonseosanecretansanteseenessretsnenstenrsneermesenenserarersoe 1G

(D) — Doigeabillty ...escsssanessenescsnentenonsersssessaaneneeneenessessaceeane nanan 1G

_{c) ROUTSITIANE. sacceserssesescorresererserscseteseeerisacnnentsesnerrusecenereer 1G

(d} Other Ferminations......sussererssssrestarnsrenersnneesseree 1D

ARTICLE Vi - PROVISIONS APPLICABLE TG OTHER ML & CO.
SECURITIES .....ccccsyecsneeere sivesitrapeeeennnnet

Section 6.1 Grants of Other ML & Co. Securilles.. seen eencessereneeete TE
Section 6.2 Terms and Conditions of Conversion or Exchange... 18
ARTICLE VI - CHANGES IN CAPITALIZATION ...,..c:ssususssusrsrnsstsennceecentennveesnere eld

ARTICLE VI - PAYMENTS UPON TERNINATION OF EMPLOYMENT
AETER A GHANGE IN CONTROL ssreserecscsssrtescsneratererresatererseneen nll

Section 8.1 Value of Payments Upon Ts Termination After a Change

in Control... seseeabesntansarsonsenetaaerseguervanaerenses sete ell
fa) Performance Shares and Performance Units ........0021
(b)  Restritied Shares and Restricted Units... vent eee 2A
re Stock Options and Steck Appreciation Righis ZT
{d Other ML & Co, Securities... ae voesinenmnZ2
Section 8.2 A Change In Control sannune.ae puget suuevnuscestvecocesaeseaueseseceanten rent reran oe

Section 8.3 Effect of Agreement Resulting in Change [n Control qravetee re eed

Section 8.4 Termination for CAUS. cscs rsse-ssnscenecs sterner nnearte retrained
Section G5 God ROGSOM sececrsesscesrcarsssccecesctenseresanoessetnats pats pecersseresssoresenea
iv

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 5 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 7 of 35

{a} Inconsistent Duties... pirreerniteeneren a

{b} Reduced Salary or Bonus 18 Oppart ny seenraenewsesnseh

{c) Relocation .. bese teswnenererenayensen ve ecceesuureaneneedA

(d} Compensation Plans... srsqneanavassennipesasernenecsaaesenenl

(6) Genefits and Perquisites....... apenas ecnaneaneceens Uadenenss

(f) «= Na Assumiption by Successor... ssseereessserenneser etd

Section 5.6 Effect on Flan Provisions wi... ersreireesserens
ARTICLE EX « MISCELLANEOUS. .....cscsessecrecnccerseceeessessnnoncentsestetearenvenoratesepeeesneess Zor
Saction 9.4 Designation of Benetichary .....ssscssessnrssennsrseesssnrsonaerresenecte et
Section 9.2 Employment Rights... cesses arene ecrens ieee
Section 9.3 Nentransterabillty ..ssccscsercemesssccontesssssssntsensessessesenreesrsncessren ZO
Sections 9.4 WRMEOICING weeny eeseaes pen seeennet sense teen eennaceeenansrepenesnacanseansansn ser ret
Section 9.6 Relaflonship to Other Banedts....ccosscnsscrsesnstensesceeseerenee dd
Saction 9.6 No Trust or Fund Created .ccerssccscsessessecansesctcecseeeectermaarananen le
Section 0.7 FxPQMS OS. cssssecccccceeccseenisnecsestssnsessasenseecsseessscsers nteseecstestee
Section 9.8 Incerrniflcatlar... ns ccsssensccsarsasencnsseacereceeeteneeseersesoereran aan ee
Section G9 Tax Lig atlorecessensssesseeseercererrnvsecserteiepegesstesecenseise ties nse e
ARTICLE X - AMENDMENT AND TERMINATION oo. sccresesessssreisecen crescent ld
ARTICLE XE - INTERPRETATION. .cccscccspeccsesesceetercsdnisartarssavensnssusarevenreesenrresrernenn ZO
Section 11,1 Governmental and Other Regulators .....essersserceenscensrseens eee

Section 14.2 Goverdiing LAW. vccsscserecsssvescrvescearssseasesgrarereetereeseretessesasen rei

ARTICLE Xi « BFFECTIVE DATE....csercsetecreterrenesnireessarensssntserse seen sesetesqeveurtenenn dd

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 6 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 8 of 35. —

FAERRILL LYNCH & CG., INC.

LONG-TERM INCENTIVE COMPENSATIGN PLAN
FOR MANAGERS AND PRODUCERS

 

ARTIGLE | - GENERAL
. Section 1.1 Purpose.

The purposes of the Long-Term Incentive Compensation Pian (the “Plan"} for
Managers and Producers ars; (a) to enhance the growth and profitability of Marri] Lynch
& Go., Inc, a Oglaware corporation (ML & Co."), and Its subsidiaries by providing the
incentive of long-term rewards to key employees whe are capable of having a significant
impact on tha performance of ML & Co, and its subsidiaries; (b) to attract and retain
employees of outstanding competence and abliiity; (c) to encourage long-term stock
ownership by employees; and (d) to further the Identiiy of interests of such employees
with those of stockholders of ML & Co.

Section 1.2 Definitions.

For the purpose of the Plan, the following terms shall have the meanings
fadicated:

(a) "Board of Directors" or "Board" shail mean the Board of Directors of ML
& Go.

{b) "Gode" shall mean the Internal Revenue Code cf 1986, a5 amended,
including any successor law therete.

(ec) “Company” shall mean ML & Go, and any corporation, partnership, or
other organization of which ML & Co. owns or controls, directly or indirectly, not less than
50% af the total cambined vating power of all classes of stock or other equity interests,
For purposes of this Plan, the terms "ML. & Co,” and "Company" shall include any
successor thereto.

(d) “Committee” shali mean the Management Development and
Compensation Committee of the Board of Directors, or its functional successer or any
other Board committes that has been designated by the Board of Directors fo administer
the Plan, or the Beard of Directors,

(e} “Common Stock" shall mean the Common Stock, par value $1.33 4/3 per
share, of ML & Co. and a “share of Common Stock" shall mean one share of Common
Stock together with, for so long as Rights are outstanding, ane Right (whether trading
with ihe Common Stock or separately).

i "Disability," unless otherwise provided herein, shall mean any physical ar
reental condition that, in the opinion of the Head of Human Resources of Merrill Lynch &

1

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 7 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 9 of 35

Go., Ino, for his or her functional successor), renders an employee incapable of engaging
in any employment ar occupation for which he is sulted by reason of education or
iraining.

(g) “Fair Market Value" of shares of Common Stack on any given date(s) shall —
be: {a} the mear of the high and low sales prices on the New York Stock Exchange
Composite Tape of such shares on the date(s) in question, or, if the shares of Commen
Stock shall not have been traded on any such date(s), the mean of the high and low
sates prices on the New York Steok Exchange-Composite Tape on the first day prior
thereto on which the shares of Common Stock were so traded; or (b} If the shares of
Gammon Stock are not traded ort the New York Stock Exchange, such other amount as
may be determined by the Comrmittes by eny fair and reasonable means,

"Ealy Market Value" of any Other ML & Co, Security on any given cate(s)
shall be: (a} the mean of the high and [ow sales prines of such Other ML & Co. Seourity
on the principal securities exchange on which such Securily is traded on the date(s) in
question or, if such Other ML & Co. Security shall nol have been traded on any such
exchange on such date(s}, the mean of the high and low sales prices on such exchange
on the frst day prior thereto on which such Other ML & Ga. Securily was so traded; or {b)
ifthe Other ML & Co. Security is not publicly traded on a securities exchange, such other
amount as may be datermined by the Committee by any fair and reasonable means.

(h) “Junior Preferred Stock” shall mean ML & Co.'s Series A Juntor Preferred
Stock, par value $71.00 per share,

() “Other ML & Co, Security” shall mean a financial instrument issued
pursuant to Articie VI.

ai} “Participant” shall meen any employee wha has met the eligibility
requirements set forth in Section 4.5 hereof and to whom a grant has basn made and is
outstanding under the Pian,

(k) "Perfermance Period” shall mean, in relation to Performance Shares or -
Performance Units, any period, for which performance objectives have been established,
oF not less than one nor more than ten consecutive ML & Co, fiscal years, commencing
with the first day of the fiscal year in which such Performance Shares or Parformance
Units were granted.

(} “Performance Share” shall mean a right, granted to a Participant pursuant ~
to Article Hf that will be paid out as a share of Common Stock.

(m) “Performance Unit" stall mean a right, granted to a Participant pursuant
to Article Il, to receive an amount equal to the Fair Market Value of one share of Common
Stock in cash.

{n) "Restricted Period" shall mean, {|} in relation to shares of Comman Stock
receivable in payment for Performance Shares, the parlod beginning at the end of the

applicable Performance Period during which restrictions on the transferability of such
shares of Gommon Stock are in effect; and (ij In relation to Restricted Shares or

2

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 8 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 10 of 35

Restricted Units, the parfod beginning With the first day of the month in which Restricted
Shares or Restricted Units are granted, during which restrictions on the transferability of
such Restricted Shares or Restricted Units are in effect, which shall not be of shorter
duration than the Vesting Period applicable ta the same Restricted Shares or Restricted
Units,

(oc) "Restricted Share shall mean a share of Common Stock, granied to a
Parficlpant pursuant to Article Ii, subject to the restrictions set forth in Section 3.3 hereof,

{p) "Restricted Unit" shal! mean the right, granted to a Participant pursuant to
Article If, as provided by the Commities at the time of grant to receive either: (1) an
amount in cash equal to the Fair Market Value of one share of Common Stook, cr (2) one
share of Common Siock,

; "Retirement" shai mean the cessation of employment with ihe Company
(¢) on or after (A) having conspteted at least five (5) years of service and (B} reaching any
age, that, when added to service with the Company (in each case, expressed as
completed years and completed months), equals al least 45; or (2) as the result of (A)
becoming employed by an unconsolidated affifiafe of the Company (as specified by tha
Head of Human Resources) or (B) being a part of a divestiture or spin-olf designated by
the Head of Humen Resources as eligibie, provided that, in each case, termination af
employment by the Company for Cause, as defined in Section 8.4 of the Plan, shall not
qualify as Retirement.

i) "Rights" means the Rights to furshase Units of Junior Preferred Stook
issued pursuant lo the Rights Agreement.

(8) “Rights Agreement" means the Rights Agreement dated as of December
46, 1987 between ML & Co, and Manufacturers Hanover Trust Company, Rights Agent,
as amended from time to time.

{t) "Steck Appreciation Right” shall mean a right, granted to a Participant
pursuant ta Article V, to reselve, In cash or shares of Common Stock, an amount equal fo
the increase In Fair Merket Value, over a specified period of time, of a speclfiad nurnber
of shares of Common Stock,

(u}) "Stock Option” shai) mean a right, granted fo a Participant pursuant fo
Aricle IV, to purchase, before a specified date and at a specified price, a specified
number of shares of Common Stock. Stock Cptions may be “Incentlve Stock Options,” -
which meet the definition of such in Section 422A of the Code, or "Nonqualified Steck
Options," which do not meet such definition.

(Vv) “Vesting Period” shall mean, in relation fo Restricted Shares, Restricted
Units, or Stock Options, any period of not less than six (6) months beginning with the first
day of the menth In which the grant of the applicable Restricted Shares, Restricted Units
or Stock Options is effective, during which such Resiricted Shares, Restricted Units or

Stock Options may be forfeited if the Participant terminates employment.

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 9 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 11 of 35

Section £.3 Administration.

fa} The Plan shail be administered by the Committee, Subject to the provisions
of the Plan, the Consmiiies shall have sole and complete authority to: (i) subject fo
Section 1.6 hereof, select Participants after receiving the recommendations of the
management of the Company; (i) determine the number of Performance Shares,
Performance Units, Restricted’ Shares, Restricted Units, Stock Appreciation Rights, or
Other ML & Co, Securities sublect fo each grant; (ii) deterraine the number of shares of
Common Stock subject to each Stock Option grant; (Iv) determine the fime or times when
grants are to be made or are to be effective; (v) determine the terms and condiilons
subjest to which grants may be made; (vi) extend the term of any Steck Optian; (vil)
provide at the time of grant that all or any portion of any Stock Optien shail be canceled
upon the Particlpant’s exercise of any Stosk Appreciation Rights; (vii) prescribe the form
or forms of the instruments evidencing any grants made hereunder, provided that such
forms are consistent with the Plan; Gx) adopt, amend, and rescind such rules and
reguiations as, lA its opinion, may be advisable for the administration of the Plan; {x}
consttue and Interpret the Plan and all rules, regulations, and instruments ufijized
thereunder; and {xi} make afl determinations deemed advisable or necessary for the
administration of the Flan, All determinations by the Committee shail be final and
binding.

(b} The Commiltee shall act in accardance with the procedures established for
a Gormmittes under ML & Co.'s Certificate of Incorporation and By-Laws or under any
resolution of tha Baard,

Sectlon 1.4 Shares Sublect to the Plan.

The total number of shares of Common Stock that may be distributed under the
Plan shall be 349,000,000 (whether granted as Restricted Shares or reserved for
distribution upan grant of Resticted Units, Performance Shares, Stock Options, Stock
Appreciation Rights (to the extent they may be paid aut In Common Steck), or Other ML
& Co. Securities), sublect to adjustment as provided in Article Vil hereof, Shares of
Common Stock distributed under the Plain may be treasury shares or authorized but
unissued shares. To the extent (hat awards cf Other ML & Go, Securities are convertible
inta Common Slock or are othervise equity securities (or convertible into equity
seourities) of ML & Co., they shalt be subjest ic the limitation expressed above on the
number of shares af Common Stock that can be awarded under the Plan. Any shares of
Canmmon Stock that have béen granted as Restricted Shares or that have been reserved
for distribution in payment for Restricted Unit or Performance Shares but are later -
forfeited or for any other reason are nol payable under the Plan may again be made the
subject of grants under the Plan. If any Stock Option, Stock Appreciation Right, or Other
ML & Co. Security granted under the Flan |s forfeited, expires or terminates, or any
Restticted Unit or Stock Appreciation Right is paid out in cash, the underlying shares of
Gommon Stock may again be made the sublect of grants under the Plan. Units payable
in cash that are later forfeited or for any reason are not payable under the Plan may
again be the subject of grants under the Plan.

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 10 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 12 of 35

Section 1.5 Eligibility and Participation.

Participation in the Plan shall be limited to officers (who may also be nembers of
the Board of Directors) and other salaried, key employees of the Company or any aifillate
of the Company dasignated by the Committee.

ARTICLE ll - PROVISIONS APPLICABLE TO PERFORMANCE SHARES AND
PERFORMANCE UNITS.

Section 2.1 Performance Parlods and Rostricted Perlods.

 

‘The Commitee shall establish Performance Periods applicable to Performance
Shares and Performance Units and may establish Restricted Perlods applicable to
Performance Shares, at its discretion. Each such Performance Period shall commence
with the beginning of a fiscal year in which the Performance Shares and Performance
Units are granted and have a duration of not less than. one nor mote than ten consecutive
fiscal years. Each such Restricted Perlod shall cammence with the ond of the
Performance Period established for such Performance Shares and shall end on such
date as may be dstermined by the Committee at the time of grant. There shall ba no
limltation on the number of Performance Periods or Restricted Periods established by the
Committee, and nore than one Performance Period may encompass the same fiscal
year.

Saciion 2.2 Performance Objactives,

At any time before or during a Performance Period, the Committee shalt establish
_ one of more performance cbjactives for such Performance Period, provided that such
performance objectives shall be establishad pricr to the grant of any Performance Shares
or Performance Units with respect fo such Period, Performance objectives shall be
based on one or More measures such as return on stockholders’ equity, eamings, or any
aiher standard deemed relevant oy the Committee, measured internally or relative to
other organizations and before or after extraordinary Items, as may be determined by the
Committes; provided, however, that any such medsure Shall Include all accruals for
grania nade under the Plan and for all olher employee benefit plans of the Company.
The Commities may, in its discretion, establish performance objectives far the Company
as a whele or for only that part of the Company In which a given Participant is invelved, or
a combination thereof. In establishing the performance objective or objectives for &
Performance Period, the Gammittee shall detarmine both a minimum performance level,
hetow whioh ne Perforrnence Shares or Performance Units shail be payabla, and a full -
performances ievel, at or above which 100% of the Performance Shares or Performance
Units shall be payable. In addition, the Committee may, in Its discretion, establish
intermediate levels at which given proportions of the Performance Shares or
Parfermanee Units shall be payable, Such performance objectives shail nat thereafter be
chanced except as set forth In Sections 2.6 and 2.6 and Articte Vil hereof,

Section 2.3 Grants of Performance Shares and Performance Units.

 

The Committea may select employses to became Participants subject to the
provisions of Section 1,5 horeof and grant Performance Shares or Performance Unile to

5

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 11 of 34
 

 

Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 73 of 35

such Participants at ary time prior to or during the first fiscal year of a Performance
Period. Grants shall be deemed to have been made as of the beginning of the first fiscal
year of the Performance Period, Before making grants, the Committees must receive the —
recommendations of tha management of tha Company, which will take into account sucl
factors as level of rasponsibifity, current and past performance, and performance
poterndal. Subject to the provisions of Saction 2.7 hereof, a grant of Performance Shares
or Performance Units shall be effective for tha entire applicable Perfonnanoe Period and
may not be revoked, Each grant to a Participant shall be evidenced by a written
instrument stating the number of Performance Shares or Performance Units granted, the
Performance Period, the performance ablective or objectives, the proportion of payments
for performance between ihe minimum and full performance levels, If any, the Restricied
Pericds and restrictions applicable to shares of Common Stank receivable in payment for
Performance Shares, and any other terms, conditions, and rights with respect to such
grant, At the time ef any grant of Performance Shares, there shall be reserved out of the
number of shares of Gammon Stock authorized for distribution under the Plan a number
of shares equal to the number of Performance Shares sa granted.

Section 24 Rights and Benofits During Performance Period.

The Commitiea may provide that, during a Performance Period, a Participant shall
be paid cash amounts, with respect to each Performance Share or Performance Unit held
by such Partleipant, in the same manner, at the same time, and In the sare amount paid,
as a dividend on a share of Cormmon Stock.

Section 2.5 Adjustment with respect fo Performance Shares and
Performance Units,

Any other provision of the Plan to the contrary notwithstanding, the Committes
may at any time adjust performance objectives (up or down) and minimum or full
performance levels (and any intennediate 'svels and proportion of payments related
thereto), adjust the way performance objectives are measured, or shorlen any
Performance Peried or Restricted Period, # it determines that cancitioris, Including but
not fmited to, changes In the economy, changes ih cdffipetitivé conditions, changes in
iaws of governmental regulations, changes in generally accepted accounting principles,
changes in the Company's accounting policies, acquisitions or dispositions, or the
oceurrence of other unusual, unforeseen, or exirsordinary events, so warrant.

Section 2.6 Payment of Performance Shares and Performance Units, .

Within 90 days after the end of any Performance Period, the Company shall
determine the extent to which performance objectives established by the Committee
pursuant tc Section 2,2 hereof for such Performance Period have been met during such
Performance Period and the resultant extent to which Performance Shares or
Performance Units granted for such Performance Perlod are payable. Payment fer
Performance Shares anc Performance Units shall be as follows:

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 12 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 14 of 35

(a) Performance. Shares:

() Jia, Restricted Period has been established ih relation to the
Performance Shares:

 

(A) At.the end of the applicable Performance Period, ons or more
dettificates representing fhe number of shares of Common Stock equal to the number of

Performance Shares payable shall be registered in the name of the Participant but shall
ha held by the Company for the account of the employee. Such shares will be
nonforfelfable but resiricted as io transferability during the applicable Restricted Paried.
During the Restricted Period, the Participant shall have all rights of a holder as to such
shares of Common Stock, Including the right fo recaive dividends, to exercise Rights, and
to vote such Common Stock and any securities Issued upon exercise of Rights, subject to
the following restrictions: (1) the Paricipant shall not be entitled to delivery of certificates
representing such shares of Common Sfock and any other such securities until the
expiration of the Restristed Period; and (2) none of such shares of Common Steck or
Rights may be sold, transferred, assigned, pledged, er otherwise encumbered or
disposed of during the Restricted Period. Any shares of Common Stock or other
securities or property received with respect to such shares shall be subject to the same
restrictions as such shares; provided, however, that the Company shail nct be required to
ragister any fraotianal shares of Gammon Stock payable to any Partlelpant, but will pay
the value of such jractlonal shares, measured as set forth in Ssction 2,6(b} below, to the
Participant.

 

(B) At the end of the apolicehla Restricted Period, all rastrictions
applicable to the shares of Common Stock, and other securities or property received with
respect to such shares, held by the Company for the accounts of recipients of
Performance Shares granted in relation to such Restricted Period shall lapse, and one or
more stock certificates for such shares of Gommon Stock and securities, free of the
restrictions, shall be delivered fo the Participant, or such shares and securities shall be
cradited to a brokerage account if the Participant so directs.

(i) Ifa Restricted Perlod has not been established in relation to the
Performance Shares, at the end of the applicable Performance Petiod, one or more stock
cstlificateas representing the number of shares of Common Stock equal to the number of
Performance Shares payable, free of restrictions, shall be registered In ihe name of the
Participant and delivered to the Participant, or such shares shall be credited to a
brokerage account if the Participant so directs.

(b) Performance Units: At the end of the applicable Performance Period, a
Participant shall bs paid a cash amount equal to the number of Performance Units
payable, times tha mean of the Fair Market Value of Common Stack during the second
calendar month following the end of the Performance Petiod, unless some other date or
petiod is established by the Commitee at the time of grant.

Section 2.7 Terlnation of Employment.

fa) Prior to the end of a Performance Period:

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 13 of 34
Case 4:09-cv-01789 Document 28-1 Filed in TXSD on 02/01/10 Page 15 of 35

(i) Death: fa Participant ceases to be an employee of the Company
prior to tha end of a Performance Pstiod by reason of death, any outstanding
Performance Shares or Performance Units with respect te such Participant shall become
payable and be paid to such Participant's beneficiary or estate, as the case may be, as
goon as practicable in the manner set forth in Sections 2.0{a)(i) and 2.6(b) hereof, «
respectively. In determining the extent to which performance objectives established for
such Performance Period have been mat and the resultant extent to which Performance
Shares or Performance Units are payable, the Performance Period shal] be deemed to
end as of the end of the fiscal year in which the Participani’s death occurred.

fi)  Bisability or Retirement: The Disability er Retirement of a Participant
shalt not constitutes a tannination of employment for purposes of this Article ll, and sueh
Participant shall not forfeit any Performance Shares or Performance Units held by him of
her, provided that following Disability or Retirement such Participant does not engage in
or assist any business that the Committee, in its sole discrefion, determines to be in
competition with business engaged in by the Company during the remainder of the
applicable Performance Period. A Participant who dees engage in or assist any business
that the Committee, in its sole discretion, determines fo be in competition with business
sngeged in by the Company shall be daemed fo have terminated emplayment.

(ii} Other Terminations: If a Participant ceases to be an employee prior
to the end of a Performance Period for any reason other than death, the Participant shall
immediately forfeit al Performance Shares and Perfomance Units previously granted
under the Plan and all right to receive any payment for such Performance Shares and
Performance Units. Fhe Committee may, however, direct payment in accordance with
the provisions of Section 2.6 hereof for a number of Parformance Shares or Performance
Units, as it may determine, granted under tha Plan to a Participant whose employment
has so terminated (but not exceeding the number of Performance Shares or Performance

_ Units thet could have been payable had the Participant remained an employee) if it finds
that the circumstances in the particular case so warrant. For purposes of the preceding
sentence, the Performance Perlad over which performance objectives shall be measured
shall be deemed to end as of the end of the fiscal year in which termination ocourred.

{b) After the end of a Performance Period but prior to the end of a Restricted
Period: ,
ft} Death, Disabtity, or Retirement: If a Parilcipant ceases to be an
employea of the Company by reason of death or In the case of tha Dlsabilily or
Retirement of a Participant, the Restricted Period shall be deemed io hava ended and
shares held by the Company shail be paid as soon as practicable In the manner set forth
in Section 2,6{a})(B).

(i) Other Terminstions: Terminations of employment for any reason
other than death after the end of a Perfermarics Period but prior to fhe end of
Rastricted Period shall net have any effect on the Restilcted Period, unless the
Committee, in [ts sole discretion, finds that the clreumstances so warrant and determines
that the Restricted Period shall end on an earlier date as determined by the Committee
and that shares held by the Company shall bo paid as socn as practicable following such
earlier date in the manner sat forth in Section 2.6fa}(#}(B).

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 14 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 16 of 35

(c) Except as otherwise provided In this Section 2.7, termination cf employment

after the end of a Performance Period but before the payment of Performance Shares or

Performance Units relating to such Parformance Period shall not affect the amount, if

any, fo be paid pursuant to Section 2.6 heraof. Approved leaves of absence of one year

or less shail not be deemed to be terminatlons of employment under this Section 2,7,

Leaves of absence of more than one year wil bs deemed to be terminations of
employment under this Section 2.7, unless the Committee determines otherwise,

Section 2.8 Deferral of Payment,

Tha Committea may, in ite sole discretion, offer a Participant the right, by
execution of a written agreement, to defer the receipt of all or any portion of the payment,
if any, for Performance Shares or Performance Units. if such an efection to defer Is
made, the Common Stock receivable in payment for Performance Shares shall be
defarred as stock units equal in number fo and exchangeable, at the end of the deferrai
period, for the number of shares of Common Stock that would have been paid to the
Particinant, Such stock units shail represent only a contractual right and shall net give
the Perticipant any Interest, right, or title tg any Common Stock during the deferral period,
The cash receivable In payment jor Performances Units or fractional shares receivable for
Performance Shares shall be ceferred as cash units. Deferred stuck units and cash alts
may be credited annually with the appreciation factor contained in the deferred
compensation agreement, which may include dividend equivalents. All other terms and
conditions of deferred payments shall be as contained in the written agreemeni,

ARTICLE BL- PROVISIONS APPLICABLE TO RESTRICTED SHARES AND
RESTRICTED UNITS.

Section 34 Vasting Periods and Restricted Periods.

The Committees shall establish one or more Vesting Periods applicable to
Resiricled Shares and Restricted Units and one ar more Restricted Periods applicable to
Restricted Shares and Restricted Units, at its discretion. Each aush Vesting Period shall
have a duration of not fess than six (6) morths, méasured from the first day of the marth
in which the grant of the appiicable Restricted Shares or Restricled Units is effective.
Each such Restriated Perlod shalt have a duration of six (8) or more consecutive months,
measured from the first day of the month in which the grant of the applicable Restricted
Shares or Restricted Units is effective, but in no event shall any Restricted Period be of
shorter duration than the Vesting Period applicable to such Restricted Share or
Restricted Unit.

Section 3.2 Grants of Restricted Shares and Restricted Units.

The Committee may select employees to become Participants (subject to the
provisions of Section 1.5 hereof) and grant Restricted Shares or Restricted Units to such
Participants at any fime. Before making grants, the Committee must recelve the
recommendations of the manegement of the Company, which will take Into account such
factors as level of responsibility, current and past performance, and performance
potential.

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 15 of 34
Case 4:09-cv-61799 Document 28-1 Filed in TXSD on 02/01/10 Page 17 07 35

Subject te the provisions of Secfion 3.7 hereof, a grant of Restricted Shares or
Restricted Linits shall be effective for the entire applicable Vesting and Restricted Perleds
and may not be revoked. Each grant to a Participant shall be evidenced by a written
instrument stating the number of Reeticted Shares or Restricted Units granted, the
Vesting Period, the Restricted Perlod, the restrictlons applicable to such Restricted
Shares or Restricted Units, the nature and terms of payment of consideration, if any, and
the consequences of forfeiture that will apply to such Resiricfed Shares or Reswicted
Units, and any other terms, conditions, and rights with respect to such grant.

Section 3.3 Rights and Rastrictions Governing Restricted Shares.

At the time of grant of Restricied Shares, subject to the receipt by the Company of
any applicable consideration for such Restricted Shares, one or more certificates
representing the appropriate number of shares of Common Stock granted to a Participant
shall be registered alther in Ris or her name or for his or her benefit either Individually or
collectively with others, but shall be held by the Company for the account of the
Participant. The Participant shall have ail rights of a holder as to such shares of
Common Stock, including the right to receive dividends, to exercise Rights, and to vote
such Common Stock and any securities Issued upon exercise of Rights, subject to the
following restrictions: (a) the Participant shail not be eniitlad to delivery of certificates
representing such shares of Common Stock and any other such securlties until the
expiration of the Restricted Period; (b) except as provided in Section 3.8, none of the
Restricted Shares may be sold, transferred, assigned, pledged, or otherwise encumbered
or disposed of during the Restricted Period; and (c} all of the Restricted Shares shall be
forfeited and ali rights of the Participant to such Restricted Shares shall terminate without
further obligation on the part of the Company unless the Parlicipant remains in the
continuous amployment of the Company for the entire Vesting Period in relation to which
such Restricted Shares were granted, except as otherwise provided in Section 3.7
hareof. Any shares of Common Stock or other securities or properly received with
respect to such shares shail be subject to the same restrictions as such Restricted
Shares.

Section 3.4 Rights Governing Restricted Units.

During the Vesting Period, or, if longar, the Restricted Period, for Restricted Units,
a Participant may be pald, with raspect to each such Restricted Unit, cash ameunts In the
same manner, at the same time, and in the same amount pald, as a dividend on @ share
af Common Stoek. Except as otherwise provided in Section 3.7, the Restricted Units
shall be forfeited and all rights of ihe Participant to the Restricted Units shall be forfeited -
without further obligation on the part of the Compeny unless.the Participant remains in
the continuous employment of the Company for the entire Vesting Period.

16

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 16 of 34
Case 4:098-cv-01789 Doctiment 28-1 Filed in TXSD on 02/01/10 Page 18 of 35

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Section 3.5 Adjustment with respect to Restricted Shares and Restricted
Units,

Any other provision of fhe Plan to the contrary notwithstanding, the Committee
may at any time shorten any Vesting Period or Restristed Period, if it ceterminas that
conditions, including but not limited to, changes in the economy, changes in competitive
conditions, changes in laws or governmental regulations, changes in generally accepted
accounting principles, changes In the Gompany's accounting policies, acquisiians ar
dispositions, or the accurrence of other unusual, unforeseen, or extraordinary events, so
warrant.

Section 3.6 Payment of Restricted Shares and Restricted Units.

(a)  Restricled Shares: At the end of the Restricted Period, all restrictions
contained in the grant of Restdeted Shares and in the Plan shall lapse, and the
appropriate number of shares of Common Stock (net of shares withhald at ihe and of the
Vesting Period under Section 3.6(c)), shall be delivered to the Participant or his or her
beneficiary or estate, ae tha case may he, free of restrictions, in the form of stock
certificates or credited to a brokerage account as the Participant or hls or her beneficiary
or estate, ag the case may be, so directs. .

(b) Restricted Unite: At ihe end of the Vesting Period (or, if fonger, the
Restricted Period) applicable to a Participants Restricted Units, there shall be paid to the
Participant, or his or har beneficiary or estate, as the case may be, either: (1} en amount
in cash equal to the Fair Market Value of one share of Commion Stock on the last trading
day of the Vesting Period (or, if longer, the Restricted Period), or (2) one share of
Common Stock for each Restricted Unit, net of sharss withheld by the Company pursuant
to Section 3.6(c), free of restrictions. For Restricted Units paid in Common Stock, ihe
appropriate nuniber of shares shall be delivered to the Participant or his or her
beneficiary or estate, as the case may be, In the form of stack certificates or credited to a
brokerage account as the Participant or his or her benaticiary or estate, as the case may
be, so directs. Atleast six months prior te the end of the applicable period, the Company
may cermit a Participant to elect to extend the Restricted Peflad of a Resticted Unit for
an additional period determined by the Participant at the time of such election.

(c) Payment of Taxes: At he end of the Vesting Period for Restricted Shares or
the Restricted Period for Restricted Units payable in Common Stock, the Company shell
salisfy any minimum federal, stata, local or social security withholding requirements that
pgcur as @ result the vesting of Restricted Shares or payment of Restricted Units in:
shares of Gomimon Stock by deducting from the number of whole shares of Cammon
Stock otherwise dellverable, such number of shares as shail have a Fair Market Value,
on the applicable date, equal to the minimum tax required to Se withheld by the
Company.

Saction 3.7 Termination of Employment.
(a) Prior fo the end of a Vesting Perioc:

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Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 17 of 34
 

Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 19 of 35

i) Death if a Participant ceases to be an employes of tha Company
prior to the end of a Vesting Period by reason of death, all grants of Restriclad Shares
and Restictead Unils granted to such Partlcipant ara immediately payable in accordance
with their terms,

Gi) Disability or Retrement: The Disabifity or Ratrement of a Participant

shail hot constitute a termination of employment for gurposes of this Article Wl and such

- Participant shall not forfeit any Restsicled Shares or Restricted Units held by him or her,

provided that, during the remainder of the appiicable Vesting Period, such Participant

does not engage in or assist any business that the Committee, in ffs sole discretion,

determines to be in competition with business engaged in by the Company. A Panicipant

who does engage in or assist any business that the Committee in Its sole discretion,

determines to be in competition with business engaged in by the Company shall te
deemed to have terminated employment,

(i) Other Terminations, Except as otherwise provided harsin, if a
Participant ceases to be an employes prior to the end of a Vesting Period for any reason
other than death, the Participant shall immediately forfeit all Resticled Shares and
Restricted Units previously granted, unless the Committee, in its sole ‘discretion, finds
ihat the circumstances in the partieular case so warrant and allows a Participant whose
employment has so jerminated to retain any or all of the Restricied Shares or Restricted
Units granted to such Participant. Notwithstanding the foregoing, with respect fo any
Pariicipant holding unvested Restricted Shares and/or Restricted Units {x} whose
employment is terminated because of a reduction In staff (coded under termination code
number 251 or such ather code as may be equivalent to cr substituted for termination
coda number 231), and (y} who delivers fo the Company and complies with a release of
claims he or she may have against the Company ar any of lis subsidiaries, which will
include a prohibition on solicitation of the Company's employees and such ather
restrictions as the Company mey impose (a “Release"), then notwithstanding such
termination, Restricted Shares and Restricted Units grantad to such Participant shal!
continue to vest during the Vasting Period and be restricted during the Restricted Period
for such grant: provided, however, that in the event of the Employee's death during tha
relevant Vesting or Reslitted Perlods the treatment of Restricted Shares and Restricted
Units will be determined In aacordance with the provisions of Section 3.7(a}ik

‘ (b) After the end of a Vesting Period but prior to the end of a Restricted
Period:

(i)  Qeath, Disability, or Retirement If a Participant ceases to be
an employee of the Company by reason of death, or in the case of the Disabiliy or -
Retirement of a Participant, prior to the end of a Restricied Period, all Restricted Shares
ard Restricted Unlts granted to such Participant are immediately payable in the manner
set forth In Section 3.6.

(i) Other Terminations: Terminations of employment tor any
reason other than death after the end of a Vesting Period but prior to the end of a
Restiicted Period shall net have any effect on the Restricted Period, urfess (A) the
Restricted Period relates to Restricted Unils that have been further deferred in which
case tha Restricted Units shall be paid to the Participant, or (B) the Committee, in Its sole
discretion, finds that the circumstances so warrant and determines that the Restricted
Period shall end on an earlier date as determined by the Committee and, in each case,

12

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 18 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 20 of 35

the applicable Restricted Shares or Restricted Units shall be paid as soon as pracileabie
in the manner set forth in Section 3.8,

Approved leaves of absence of one yaar or lass shall not be deemed to ba terminations
of employment under this Section 3.7. Leaves of absence of more than one year will be
deemed te be terminations of employment under this Section 3.7, unless the Gommittes
determines otherwise.

Section 3.6 Extensign of Vesting or Restrictlons: Deferral of Payment.

The Gommittes may, in Its sole discretion, offer any Participant the right, by
execuilon of a written agreement with ML & Co. containing such terms and condifions as
the Committee shall in [ts sole discretion provide jor, to extend the Vesting ar Restricted
Periods applicable to all or any portion of such Participant's Restricted Shares or

. Restricted Units, fo convert all or any portion of such Partlcipant's Restricted Shares into
Restricted Units or to defer the recelpt of all or any portion of the payment, if any, for
such Participant's Restricted Units Gneluding any Restricted Shares converted Into
Restricted Units), In fie event that any Vesting Period with respect to Resiricted Shares
or Restricted Unjis is extended pursuant te this Section 3.8, the Restricted Poriad with
respect to such Restricted Shares or Restricted Units shail he extended io the same
date. The provisions of any written agreement with a Participant pursuant to this Section
3.8 may provide for the payment or srediting of Interest, an appreciation factor of Index or
dividend equivalenis, as appropriate.

Sactlon 3.9 Litritations on Transfer of Restricted Shares and Restricted
Units. ,

 

Resiricted Shares and Restricted Units are not transferable during the Restricted
Pericd by @ Participant except by will or the laws of descent and distribution or bequest
provided, however, that the Committee shall have the authority, in its discretion, to grant
(or te authorize by amendment of an existing grani) Restricted Shares and Restricted
Units that may be transferred by the Participant during his or her lifetime to any mamber
af Hig or her immediate family or to a trust, corporation, fimited fabliity corporation, family
limited partnership or other equivalent vehisie, established for the exclusive benefit of one
or mere members of his or her immediate family for estate planning purposes. A transfer
of Restrictad Shares or Restricted Units will not be permitted unless the Company has
received evidence, to Its satisfactlon, that such transfer does not trigger insome or soclal
sacurity taxes or withholding requirements. Such transfer may only be affecied by the
Company at the written request of a Participant and shall become sffective only when
recorded in the Company's record of outstanding Restricted Shares or Restricted Units.
in the event Restricted Shares or Restricted Units are transferred, such Restricied
Shares or Restricted Units may not be subsequently transferred by the transferees except
by will or the laws of descent and disiribution. In the event Restricted Shares or
Restricted Units are transferred, such Restricted Shares or Restricted Units shall
continue fo $e governed by and subject fo the terms and imitations of the Plan and the
relevant grant and remain subject to forfeiture In the event the Participant terminates his
or her employment during the Vesting Period as if no transfer had taken place. As used
in this Section, “immediate family" shall mean, with respect to any person, any child,
stepchild or grandchild, and shall include relationships arising from legal adapiian.

13

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 19 of 34
Case 4:09-cv-01789 Document 28-1 Filed in TXSD on 02/01/10 Page 21 of 35

ARTICLE I¥ - PROVISIONS APPLICABLE TO STOCK OFTIONS.
Section 4.4 Grants of Stock Options,

The Curiniites may select employees io become Parllcipants {subject to Section
1.5 hereof) and grant Stock Options ta such Participants at any time; provided, however,
that Incentive Stock Options shell be granted within 10 years of the earlier of ihe date the
Plan is adopted by the Board cr approved by the stockholders. Before making grants,
ihs Committee must receive the recommendations of the management of the Gormipany,
which wil take into account such factors as level of responsibllify, current and past
performance, and performance potential, Subject to the provisions of the Plan, the
Committee shall also determine the number of shares of Common Stock io be cavered
by each Stock Option. The Committae shail have the authority, in its discration, to grant
"incantive Stock Options" or "Nonqualified Stock Options,“ er fo grant both types of Stock
Options, Furthermore, the Committee may grant a Stock Appreciation Right in
connection with a Stock Option, as provided in Article V.

Section 4.2 Option Documentation,

Bach Stock Option granted under the Plan shail be evidenced by written
deeumentation containing such terms and condiflons, as the Committee may deem
appropriate and ate nat Inconsistent with the provisions of the Plan.

Section 4.3 Exercise Price.

 

The Committee sha!l establish the exercise price at the time any Stock Option is
granted at such amount as ihe Commitee shall determine, except that such exercise
price shail not be fess than 50% of the Fair Market Value of the underlying shares of
Common Stock on fhe day a Stock Opilon is granted and that, wilh respect to an
incentive Stock Option, suich exercise price shall not be less than 100% of the Fair
Market Value of the underlying shares of Common Stock on the day such Incentive Stock
Qption is granted. The exercise price will be subject to adjustment in accordance with
the provisions of Aticle Vil of the Plan,

Section 4.4 Exercise of Stock Options.

(2) Vesting snd Exercisability: Stock Options shall bacome exercisable ak such

times and in such installments as the Ccmmittea may provide at the time of grant, The

Committee may also set a Vesting Period for grants of Stock Options, The Gommilttes

may also, in its sole discretion, accelerate the time al which @ Stock Optlon or instaliment

may vest or become exercisable, A Stock Option may be exercised at any time from ihe

time first set by the Commitee until the close of business on the expiration date of the
Stock Option.

te) Option Period: Fer each Stock Option granted, the Committee shall specify
the period during which the Stack Option may be exercised, provided that ro Stock

Option shall be exervisable after the expiration of 10 years {or such longer period as the
Committee shall designate} fram the date of grant of such Stack Option.

14

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 20 of 34
Case 4:09-cy-01789 Document 28-1 Filed in TXSD on 02/01/10 Page 22 of 35

(c) Exercise in the Event of Termination of Emoloyment:

(i Death: If a Partloipant ceases to be an employse of the Company by
reason of death prior to: (A) the end of a Vesting Period, (B) the exercise of, ar (0) the
expiration of Stock Options granted to him or her that remain outstanding on the date of
death, such Stock Options may be exercised fo the full extent not yat exercised,
regardless of wheiher or not then vested or fully exercisable under the terms of tha grant
or under the terms of Section 4.4(a) hereof, by fis or her estate, benaficlaries, or
transferees, as the case may be, at any time and from time fo time, Sut In no event after
the expiration date of such Stock Opiion.

(ii) Disability or Reilrament The Disability or Retirement of a Participant shail
not constitute a termination of employment for purposes of this Article IV, provided that
following Disability or Retirement such Participant does not engage in or assist any
business that the Committee In its sole discretion, determines to be in competition with
business engaged in by the Company. A Participant who does engage in or assist any
business that tha Committee In its scle discretion, deteyminas to be competition with
business engaged in by the Company shall be deemed to have terminated employment.
In the case of Incentive Stock Options, Disability shall be as defined in Code Section
22(e}{3),

(ii}  Gther Terminations: Except as provided herein, if a Participant ceases to
be an employes for any raason other than death prior to: (A) the and of the Vesting
Period, (8) the exercise of, or (C} the expiration of ¢ Stock Colion, then all outstanding
Stock Options granted to such Participant, whether in his or her name or in the name of
another person as a result of a transfer in accordance with Section 4,4(d), shall expire
and be forfeited on a dete 30 days following the date of such termination of employment,
Notwithstanding the foregoing, with respect to any Participant who holds unvested,
unexercised non-qualified Stock Options (x} whose employment [s terminated because of
a reduction in staf (ceded under termination code number 251 of such ciher code as
may be equivalent to or substituted for termination code number 251), and (y} who
delivers to the Campany and complies with 4 release of claims he or she may have
against tha Compahy of any Gf its subsidiaries, which will inctude ¢ prohibition on
eolicilation of the Company's employees and such other restrictions as the Company may
Impcse fa "Release’), then, notwithstanding such farmination, all unvested, unexercised
Stock Options shall continue to be and become exercisable in accordance with their
terms until a dafe that is 30 days after the latest date on which any Stock Options granted
to such employes have become fully exarcjsable (the “Exercise End Date"), but in no
avert later than ihe orginal expiration date of such Stock Option, and may be exercised
at any fime and fram filme to time during such petiad: provided howaver, that In the event
of ihe Employee's death, during such perlod, the exarcisability of Stock Options will be
detennined in accordance with the provisions of Section 4.4{¢}(};

In addifton, if the Committee, in its sole discreticn, finds that the circumstances in the
particular case so watrant, it may determine that the Participant, his or her transferee
pursuant to Section 4.4{d), or such Participant's or transferee's estate or beneficiaries,
may exercise any such outstanding Stock Option at any fime and from time to ame after
such termination of ernoloyment, but in no avent after the expiration dats of such Stock
Option (the "Extended Period".

15

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 21 of 34
Case 4:09-ev-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 23 of 35

Approved leaves of absence of one year or less shall not be deemed te be terminations
of employment under this Section eae Leaves of absence of mora than one year
shall be deemed to be terminations of employment under this Section 4,4(¢)(ill), unless
the Commitiee determines ciharnwise.

(qd) _Lmitations_on Transferability. Stock Options are not transferable by a
Particlparit except by will or the laws of descent and distribution or bequest and are
exercisable during his or her lifetime only by him or her; provided, however, that the
Committes shall have the authority, in ts discretion, to grant {or to authorize by
amendment of an existing grant) Stock Options that may be transferred by the Participant
during his or her lifetime to eny member of his or her immediate family or to a trust,
corporation, limited tlability corporation, family limHed partnerehip or other equivalent
vehicle, established for the exclusive benefit cf one or more members of his or her
immediate family. A transfer of a Stock Option pursuent to this subparagraph may only
be effected by the Company et the written request of a Particlpant and shall become
effective only when recorded in the Company's racord of outstanding Stock Options, In
the event a Stock Option is transferred as contemplated in this subparagraph, such Stack
Option may net be subsequently transferred by the iransterea except by will or the laws
of descent and distribution, in the event a Stock Option is transferred as contemplated in
this subparagraph, such Stock Option shall continue to be governed by and subject to the
terms and limitations of the Plan and the relevant grant, and the transferee shall be
entitled to the same rights as the Participant under Articles VU, VI and X hereof, as if no
transfer had taken place, As used in this subparagraph, ‘immediate family” shall mean,
with respect to any person, any child, stepchild or grandchild, and shail include
relationships arising fron legal adoption.

Section 4.5 Payment of Purchase Price and Tax Liability Upon Exercise:
Delivery of Shares.

{a) Payment of Purchase Price; The purchase price of the shares aa 16 which
a Stock Option is exercised shall be paid fo the Company at the time of exercise (i) in
cash, {ii} by delivering freely transferable shares of Common Stock already ewnad by
thé parson sxerelsing fhe Stock Option having 4 total reali rriarket price, atthe time
and on the date of exercise, equal fo fhe putchase price, fii) a combination of cash and
shares of Common Steck equal in value to the exercles price, or (iv) by such other
means as tha Committee, in its sole discretion, may determine.

{b)  Paymentof Taxes; Upon exercise, 2 Participant may efsct to satisfy any
federal, state, local social security taxes required by law to be withheld that arise asa -
result of the exercise of a Stock Option by directing the Company to withhold from the
shares of Common Stock otherwise deliverable upon the exercise of such Stock Option,
such number of shares as shall have a total real-time market price at the time and on the
date of exercise, at least equal to the amount of fax to ba withheld.

(c) Delivery of Shares: Upon receipt by the Company of the purchase price,
stock certificate(s} for the shares of Cammon Stock as to which a Stock Option Is
axercised (net of any shares withheld pursuant to Section 4,5(b) above} shail be
delivered to the person in whose name the Stock Option Is outstanding or such person's
astate oy benefictaries, as the case may be, or such shares shall be credited to a

48

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 22 of 34
Case 4:09-cv-01789 Document 28-1 Filed in TXSD on 62/01/10 Page 24 of 35

brokerage account or otherwise delivered, in such manrer as such person of such
person's asiate or beneficiaries, as ihe case may he, may direct.

Section 4.6 Lintitation on Shares of Common Stock Recaived upon Exercise
of Stock Ontions.

The aggregate Fair Market Value (determined at the time an Incentive Stock
Option is granted} of the shares of Cammon Stock with respect to which an Incanthve
Siock Option is exercisable for the first time by a Participant during any calendar year
(under alf plans of the Company} shall not exceed $100,000 er such other limit as may be
established from time to fime under the Coda.

ARTICLE V - PROVISIONS APPLICABLE TO STOCK APPRECIATION RIGHTS.

Section 5.1 Grants of Stock Apprectation Rights.

The Cornmittes may select employass ta become Participants (subject to the
provisions of Section 1.5 hereof} and grant Stock Appreciation Rights to such Participants
at any time. Before making grants, the Committee must receive the recommendations of
the management of the Company, which will take into account such factors as level of
responsibility, current and past performance, and performance potential, The Committee
shall have the authority fo grant Stock Appreciation Rights in connection with a Stock
Optien of independently. The Comtnittee may grant Stock Appreciation Rights in
connection with a Stock Option, either at the time of grant or by amendment, in which
case each such right shall be subject to the same terms and conditions as the related
Stack Option and shall be exercisable ony at such times and to such extent as the
related Stock Option is exercisable. A Stock Appreciation Right granted fn connection
with a Stock Option strall entitie the holder to surrender to the Company the related Stock
Option unexercised, or any portion thereof, and recaive from the Gompany in exchange
therefor an amount equal to the excess of the Fair Market Value of one share of the
Common Steck on the day preceding the surrender of such Stock Option over the Stock
Option exercise price times the number of shares underlying the Stock Option, or portion
thereof, fiat is siirrendéted, A Stock Appreciation Right granted independently of a
Stock Option shall entitle the holder to recelve upon exercise an armaunt equal to the
excess of the Fair Market Value of ene share of Common Stock on the day preceding the
exercise of the Stack Appreciation Right over the Fair Market Value of one share of
Common Stock on the dete such Stock Appreclation Right was granted, or ‘such other
price determined by the Committee af the time of grent, which shall in na event be less
than 50% of the Fair Market Value of one share of Common Steck on the data such -
Stock Aporeciation Right was granted. Stock Appreciation Rights are not transferable dy
a Participant except by will or the laws of descent and distribution and are exercisable
during his or her lifetime only by him or her.

17

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 ‘Page 23 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 25 of 35

Section 52 Stock Appreciation Rights Granted in Connection with Incentive
Stegk Options.

(a) Stock Appreciation Rights granted in connection with Incentive Stock
Opiions must expire no later than the last date the underlying Incentive Steck Optlon can
be exercised. .

(b) Such Stock Appreciation Rights may be granted for no more than 100% of
the difference between the exercise price of the underlying Incentive Stock Option and
ithe Fair Market Value of the Common Stock subject to the underlying Incenfive Stock
Option at the time the Stock Appreciation Right is exercised.

(c) Such Stock Appraciation Rights are transferable only fo the extent and at
the game-time and under the same conditions as the underlying Incentive Stock Optlans.

fd) Such Stock Appreciation Rights may bs exercised only when the underlying |
Incentive Stock Options may be exercised.

{e) Such Stock Appreciation Rights may be exercised only when the Fair
Markel Value of the shares of Common Stack subject to the Incentive Stock Options
exceeds the exercise price of the Incentive Stock Options,

Seetion §. Payment Upon Exercise of Stock Appreciation Ri

The Company's obligation to any Participant exercising a Stock Appreciation Right
may be paid in cash or shares ef Common Stock, or parfly in cash and partly in shares, at
the sole discretion of the Committee.

Section §.4 Termination of Employment.

{e) Death: If a Particlpant ceases to be an employee of the Company prior to
the exercise or expiration of a Stock Appreciation Right outstanding in his or her name on
ihe date of death, such Stock Appréciaiion Right thay be exercised to the full extent not
yet exercised, regardless of whether or not then fully exercisable under the terms of the
grant, by or his or her astate or beneficiaries, as the case may be, af any time and from
dime to time within {2 months after the date of death but in no event after the expiration
date of such Steck Appreciation Right.

(h) Disability: The Disability of a Participant shall not constitute a termination of -
employment for purposes of this Artie IV, provided that following the Disability such
Participant does not engage in or assist any business that the Cammiftes, in its scle
discretion, determines fo be in competition with business engaged in by the Company, A
Participant who dees engage In or assist any business that the Commitise, in lis sole
discretion, determines to bé in competition with business engaged in by the Company
shall be deemed to have terminated amployment.

(c) Retirement: The Reliement of a Participant shall not constitute 4
termination cf employment for purposes of this Article IV, provided that folowing
Retirement such Participant does not engages in or assist any business that the
Committee, in its sole discretion, defermines to ba in competition with business engaged

18

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 24 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 26 of 35

in by the Company, and such Participant may exereise any Stock Appreciation Right
outstanding in his or her name at any tlme and from time to time within 5 years after the
date his or her Retirement commanced but in no event after the expiration date of such
Stock Appreciation Right. A Participant who does engage in or assist any business that
the Committee, In its sole discretion, determines to be In competition with business
engaged in by the Company shall be deemed to have terminated employment.

{d) Other Terminations: lf a Participant ceases fo be an employee pricr to the
exercise or expiration of a Stack Appreciation Right far any reason other than death, all
ouistanding Stock Appreciation Rights granted to such Participant shalf expire on the
data of such termination of empfoyment, unless the Committee, In Its sole discretion,
determings that he may exercise any such outstanding Stock Appreciation Right {fo the
extent that he was entitled to do so at the date of such termination of such employment)
at any thme and from time to fime within up to 5 years after such termination oF
employment but in no event after the expiration date of such Stock Appreciation Right.

ARTICLE VI - PROVISIONS APPLICABLE TG OTHER ML & CO. SECURITIES.
Section 6.1 Granis of Other ML & Co. Securities.

Subject te the provisions of the Plan and any necessary action by the Board of
Directors, the Committee may select employees fo become Participants {subject to the
provisions of Section 1.5 hereof) and grant to Participants Other ML & Go, Securifes or
the tight or option fo purchase Other ML & Go, Securities on such terms and conditions
as the Committee shall defenmine, including, without limitation, the perlod such rights or
aptions may be exercised, the nature and terms of payment cf consideration for such
Other ML, & Co. Sacuritles, whether such Other ML & Co, Securities shall be subject to
any or all of the provisions of Articte ill of the Plan applicable to Restricted Shares and/or
Restricted Units, the consequences of termination of amployment, and the terms and
conditions, if any, upon which such Other ML & Co. Securities may or must be
repurchased by the Company. Befere making grants, the Committee must receive the
recommendations of the management of the Company, which will take Inte account such
factors as levél of rSeadhsibility, current and past performance, and performance
potential. Each such Other ML & Go. Securify shall be issued at a price that veill nok
exceed ihe Fair Market Value thereof on the date the corresponding right or option is
granted. Other ML & Co, Securities may bear Interest or pay dividends from such date
and at a rate or rates or pursuant to a formula or formulas fixed by the Committee or any
necessery action of the Board, Any applicable conversion or exchange rate with respect
to Other ML & Co. Securities shall be fixed by, or pursuant to a formuia determined by, -
the Committee or any nacessary action of ihe Board at each date of grant and may be
predicated upon the attainment of financial or other pariormance goals.

Section 6.2 Terms and Conditions of Conversion or Exchange.

Fach Other ML & Co. Security may be convertible or exchangeable on such date
and within such period of time as the Commiilee, or the Board if necessary, determines
at the time of grant, Other ML & Go, Securittes may be convertible into or exchangeable
for (i) shares of Preferred Stock of ML & Co, or {ii) other securities of ML & Co. or any
present cr futtire subsidiary of ML & Co., whether ot not convertible into shares of

18

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 25 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 27 of 35

_ Common Stock, as tha Committee, or the Beard if necessary, detarmines ai the time af
grant (or at any time prlor to the conversion or exchange date},

ARTIGLE Vil - CHANGES IN CAPITALIZATION,

Any other provision of the Plan io the contrary notwithstanding, If any change shall
gscur in or affect shares of Common Stock or Performance Units, Restricted Units, Stack
Options, Stock Appreciation Righis, or Other ML & Co. Securities on account of a
merger, consolidation, reorganization, stock dividend, stock split or combination,

_ Teclassification, recapitalization, or distribution to holders of shares ef Commen Stock
(other than cash dividends) Including, without limitation, a merger or other reorganization
avent in which the sharas of Common Stock cease to exist, , then, without any aotlon by
the Committee, appropriate adjustments shall be made (4) the maximum number of
shares of Common Stock available for distribution under the Plan; (2) the number of
shares stibject fo or reserved for issuance and payable under outstanding Performance
Share, Restricted Unit, Restricted Share, and Stock Option grants. in addition, if in the
opinion of the Gommitiee, after consultation with the Company's independent public
accountants, charges in the Company's accounting policies, acquisitions, divestitures,
distributions, or other unusual or extraordinary Items have disproportionately and
materially affected the value of shares of Common Stock or Performance Units,
Restricted Units, Stock Options, Steck Appreciation Rights, or Cther ML & Co, Securities,
ihe Committes shall make such adjustments, if any, that it may deem necessary or
equiteble in the performance objectives for the Performance Periods not yet compteted,
including the minimum, intermediate, and full performance tevels and portion of payments
related thereto; and any other terms of provisions of any outstanding granis of
Parformance Shares, Performance Units, Resiricted Shares, Restricted Units, Stock
Options, Stock Appreciation Rights, or Other ML & Co. Securities, in order to preserve
the full benefits of such grants for tha Participants, taking into account inflation, interest
rales, and any other factors that the Committee, In its sole discretion, considers relevant.
In the event of a change in the presently authorized shares of Common Stock that is
limited to a change in the designation thereof or a change of authorized shares with par
value into the same number of shares with a differant par value or into the sate number
of shares without par value, the sharés resulting frohi ahy suet change shall be deemed
to de shares of Common Stock within the meaning of the Plan. In the evant of any other
change affecting the shares cf Common Stock, Performance Units, Restricted Units,
Stock Options, Stock Apprectation Rights, or Other ML. & Co. Securities, such adjustment
shall be made as may be deemed equitable by the Committee to give proper effect to
such event.

ARTICLE Vill - PAYMENTS UPON TERMINATION OF EMPLOYMENT AFTER A
CHANGE IN CONTROL.

Section 3.1 Yalue of Payments Upon Termination After a Change in Control.

Any other provision of the Plan to the contrary notwithstanding and
notwithstanding any election to the contrary previously made by the Participant, In the
event @ Change [In Control shall occur and thereaiter the Company ahali terminate the
Participant's employment without Cause or the Participant shall ferrninate his or her
employment with the Compary for Good Reason, the Participant shail be pald the value

20

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 26 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSO on 02/01/10 Page 28 of 35

of his or her Periorrmance Shares, Performance Units, Restricted Shares, Restricted
Units, Stock Options, Stock Appreciation Rights, and Other ME. & Co. Securities in a lump
sum in cash, promptly after termination of his or her employment but, without limiting the
foregoing. in no event tater than 30 days thoreafier. Payments shall be calculated as sat
‘orth below:

{a) Performance Shares and Performance Units.

Any payment for Performance Shares and Performance Units pursuant ta this
Section 8.1{a) shall be satculated by applying peformance objectives for any autstanding
Parfonnance Shares and Performance Units as if the applicable Performance Pariod and
any applicable Restricted Period had ended on the first day of the month in which the
Participant's employment is termineted, The amount of any payment to & Participant
pursuant to this Section 8.1 {a) shall be reduced by the amount of any payment previously
made to the Participant with respect to the Performance Shares and Performance Units,
exclusive of ordinary dividend paymenis, resulting by operation of law from the Change In
Control, including, without limitation, payments resulting fram a merger pursuant to state
law. The value of the Performance Shares and Performance Units payabla pursuant to
this Section 8.1(a) shall be the amaunt equal to the number of Performance Shares and
Performance Units payable in accordance with the preceding sentence mutipued by the
Fair Market Value of a shara of Gommon Stock on the day the Participant's employment
is terminated or, if higher, the highest Fair Market Value of a share of ihe Common Stock
on any day during the 90-day period ending on the date of the Change in Contral (the
"Pre-Gic Value”). .

{b) Restricted Shares and Restricted Units,

Any payment under this Section 8.1(b) shall be calculated as if all the ralevant
Vesting and Restricted Periods had been fully completed immediately prior to the date on
which the Particloant's employment [s terminated. The amount of any payment to a
Participant pursuant to this Section 8.1(b) shall be reduced by the amount of any
payment previously made to the Participant with respect io the Restricted Shares and
Restricted Units, skclusive of ordinary dividend payments, resulting by operation of law
from the Change In Control, Including, without (Imitation, payments resulting fromm a
merger pursuant to state law. The value of the Participant's Restricted Shates and
Restricted Units payable pursuant to this Section 8.1(b) shall be ihe amount equal to the
number of the Restricted Shares and Restricted Units outstanding In a Participant's name
multipvied by the Fair Market Value of a share of Gomman Stock on the day the
Participani’s employment Is terminated or, if higher, the Pre-CIC Value,

(c} Stock Options and Stock Appreciation Rights.

’ Any payment for Stock Options and Stock Appreciation Rights pursuant to this
Section 5.1{c} shall be calculated as If all such Stock Cptions and Stock Appreciation
Rights, regardiess of whether or not inen fuily exercisable under the terms cf the grant,
became exercisable immediately prior fo the date on which the Participants employment
is terminated, The amount of any payment to a Participant pursuant lo this Section 8.1(c)
shall be reduced by the amount of any payment previously made to a Participant with
respect to he Stock Options and Stock Appreciation Rights, exclusive of any ordinary
dividend payrnents, resulting by operation of law from the Change in Contre}, including,

24

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 27 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 29 of 35

without [Imitation, payments rasulting from a merger pursuant to state law. The value of
the Participant's Stock Options and Steck Appraciation Rights payable pursuant to this
Section 8.1(c) shall be

(i) in the case of a Stock Option, for each underlying share of
Gommon Stock, the excass of the Fair Market Value of a share of Common
Stock on the day fhe Participants employment is terminated, or, If higher,
the Pre-CIC Value, over the per share exercise price for such Stack Option;

{ii} in the case of a Stock Appreciation Right granted in tandem
with a Sfock Cotion, the Fair Market Value of a share of Common Stock on
the day the Parficipani’s employment Is terminated, or, if higher, the Pre-
cic Value, over the Stock Option exercise price; and

iii) In the case of a Slock Appreciation Right granted
Independently of a Stock Option, the Fair Market Value of a share of
Common Stock on the day the Participant's employment is terminated, or, ff
higher, the Pre-CiC Value, over the Fair Market Value of one share of
Common Steck on the date such Stock Appreciation Right was granted, or
such other price determined by tha Conumilies at the time of grant,

{d) Other ML & Co. Securities.

Any payment for Other ML & Co, Seourities under this Section 8,1(d) shail be
calculated as if any relevant Vesting or Restricted Periods or other applicable conditions
dependent on the passage of time and relating to the exercisability of any right or option
io purchase Other ML & Co. Securities, ar relating to the full and unconditional ownership
of such Other ML & Co. Securities themselves, had bean met on the first day of the
month in which the Participant's employment is terminated. The amount of any payment
to a Participant pursuant to this Section 8.1(d) shall ba reduced by the emount of any
payment previously made to the Participant with respect to the Olher ML & Co.
Securities, exclusive of ordinary dividend payments, resulting by operation of law from
the Change ih Cartral, including, without imitation, payments resulting-from @ merger
pursuant to state law. The value of the Participant's Othar ML & Co. Secuities payable
pursuant to this Section 8.1(d} shall be

- in the cage of an option or tight to purchase such Other ML &
Co, Security, for each undarlying Other ML & Co, Security, the excass of
the Fair Market Value of such Other ML & Co, Security on the day the
Participant's employment is terminated, or, if higher, the Pre-ClG Value,
over the exercise price of such option or right; and

fi} in the case of the Other ML & Co. Security itself (where there
is no outstanding option or right relating to such Other ML & Co. Security),

ihe Fal’ Market Value of the Other ML & Cc. Security on the day the
Particlpant's employment is terminated, or, if higher, the Pre-GIC Valve.

22

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 28 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 30 of 35

Section &.2 A Change in Control.

A “Change in Controt" shall mean a change in control of ML & Co, of a nature

‘hat would be required to be reported in response to Item G(6) of Schedule 14A of

. Regulation 144 promulgated under the Securiles Exchange Act of 1934, as amended

(the “Exchange Act’), whether or not the Company is then subject to such reporting

requirement; provided, however, that, without limitation, a Change in Contra! shall be
deemed to have occurred if:

 

(a} any Individual, partnership, finn, corporation, association, trust,
unincorporated organization or other entity, or any syndleate or group deemed fo be a
person under Section 14(d}{2) of the Exchange Act, cther than the Company's employee
stock awnership plan, is ot becomes the "beneficial owner” (as defined In Rule #2d-3 of
the General Rutés and Regulatlons under the Exchange Act), directly or indireatly, of
securities of ML & Co, reprasenting 30% or more of the combined voilng power of ML &
Co.'s then outstanding securities enfitied to vote in the election of directors of ML & Co.;

(b) during any period of wo conseaulive years (not including avy period prior to
the Effective Date of this Plan) individuals who at the beginning of such pericd constituted
ihe Board of Directors and any new directors, whose election by the Board of Directors or
nomination for slection by tha stackholders of ML & Co. was approved by a vole of at
feast (hres quarters of the directors then still in office wae either were directors at the
beginning of the period or whose election or nomination for election was previously so
approved, cease for any reason to constitute al least a majority thereof; or

(c) all or substantially ell of the assets of ML & Go, ate liquidated or distributed.

Section 4.3 Effect of Agreement Resulting in Charge in Control.

If ML & Co. executes an agreement, the consummation of which would result in
the occurrence of a Change In Cantro! as described in Section 8.2, then, with respect toa
termination of employment without Cause or fer Good Reason occurring after the
execution of such agreement (and, if such agréermant SxXpires or is tamingted prior to
consummation, prier to such explration or termination of such agreement), a Change in
Coniro! shall be deemed fo have accurred as of the date of the execution of such
agreement.

Section 6.4 “Fermination for Cause.

Termination of the Partieipant's employment by the Company for "Gauge" shail
mean termination upon:

(a) ‘the willful and continued failure by the Participant substantially ta perform
his or her dutles with the Company (other than any such failure resulting from the
Pariicipani's incapacity due to physical or mental iisess or from the Participant's
Reflrement or any such actual or anticipated failure resulting from termination by the

Participant for Good Reason) afier a written demand for substantial performance is
delivered fo him or her by the Board of Directors, which demand specifically identifies the

23

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 29 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 31 of 35

manner in which the Board of Directors believes thal he or she has not substantially
performed his or her dulfes; or

{b) the wiliful engaging by tha Participant in conduct that is dermonstrably and
materially infuricus to the Company, monetarily or otherwise,

No act or fallure fo act by the Participant shalt be deemed "wilful" unless done, or
omitted fo ba dena, by the Paricipant not in good faith and without reasonable belief that
his or her action or omission was in the best interest of ihe Company.

Notwithstanding the foregoing, the Participant shall not be dasmed te have been
terminated for Cause unless and unfil there shall heave been delivered to him or her a
copy of a resolution duly adopted by the affirmative vate of not less than three quarters of
the entire membership of the Board of Directors ata meeting of tha Board called and held
for such purpose {after reasonable notice to the Participant and an opportunity for him or
her, together with counsel, to be heard befare the Board of Directors), finding that, in the
good faith opinion of the Board of Directors, tha Parlisipant was guilly of conduct set forth
above in clause (a} or (b} of the first sentence of this Section 6.4 snd specifying the
particulars thereof In detail.

Section 3.5 Good Reesen.

"Good Reason" shall mean the Pariicipani's termination of his or her employment
with the Company if, without the Participant's written consent, any of the follawing
circumstances shall occur;

(a) Inconsistent _Duttes. A meaningful and detrimental alteration in the
Participant's position or in the nature or status of his or her responsibilities (Including
those as a director of ML & Co., if any) from those in effect immediately prior to the
Change in Contrel;

(b} Reduced Salary.or Bonus Gnoortunity, A reducticn by the Company in the
Pattictpant's annual ba8& Salary 28 if Sffect immediately prior to tre Change inrContol: a
failure by the Company to increase the Participant's salary at a rate commensurate with
that of other key executives of the Company; or a reduction in the Parlicipanfs annual
cash bonus below the greater of (I) the annual cash bonus that he recelved, orto which
he was entitled, immediately prior to the Change in Control, or {{i) the average annual
cash bonus paid to the Participant by ihe Company for the three years preceding the year
in which the Change in Control occurs;

(c) Relocation, The relocation of the office of the Company where tha
Particinant is ernployed at the time of the Change in Control (the “CIO Lacation") to a
_{focation that in his or her good faith assessment is an atea not generally considered
conducive to maintaining the executive offices of a company such as ML & Co. because
of hazardous of undesirable conditions including without limitation a high crime rele or
inadequate facilities, or to 2 location that is more than twenty-five (25) miles away from
ihe CIC Location or the Company's requiting the Particlpant to be based more than
twenty-five (25) miles away from the CIC Location (axcept for required travel! on the
Company's business fo an extent substantially consistent with his or her customary

2

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 30 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 32 of 35

bhusinses travel obligations in the ordinary course of business prior io the Change in
Controb;

id}  Compsnsetion Plans. The failure by the Company to continue in effect any
compensation plan In which the Particlnant participates, Including but nai limited to this
Plan, the Company's retirement program, Employee Stock Purchase Plan, 1976 Incentive
Equity Purchase Plan, Equity Capital Accumulation Plan, Canadian Capital Accumulation
Plan, Management Capita! Accumulation Plan, limited partnership offerings, cash
Incentive compensation or any ather plans adopted prior to the Change In Control, unless
an equitable arrangement (embodiad in an ongoing substitute or alternative plan) has
bean made with respect to such plan In connection with ihe Change in Control, or the
faiture by the Company te continue the Participant's participation therein on at least as
favorable 2 basis, bofh in terms of the amount of benefita provided and the level of his or
her participation relative to other Participants, as existed Immediately prior to the Change
in Central;

(e) Benefits and Perquisites. The failure of the Company to continue to previde
the Participant with benefits at least as favorable as those enjoyed by the Participant
under any of the Company's retirement, !ife Insurance, medical, health and accident,
disability, deferred compensation oy savings plans in which the Parilcipant was
participating immediately prior to the Change in Gontrol; the taking of any actfon by the

-Gompany that would directly or Indirectly materially reduce any of such benefits or
deprive the Participant of any material fringe benefit enjoyed by him or her immediately
prior fo tha Change in Control, including, without limitation, the use of a car, secretary,
office space, telephones, expense reimbursement, and club dues; or the failure by the
Company to provide the Participant wlth the number of pald vacation days to which the
Participant is ented on the basis of years of service with the Company in accardance
with the Company's normal vacation pelley in effect immediately prior to the Change In
Gontrok

(f) No Assumption by Successcr. The failure of ML & Co. to obtain a
satisfactory agreement from any successor to assume and agree to perform a
Parlcipants sinployment agrsement as contemptated thereunder cr, if the business of
the Company for whieh his or her services are principally performed is sold at any time
after a Change in Control, the purchaser cf such business shall fail to agree to provide
the Participant with the same or a comparable position, duties, compensation, and
benefits as provided to him or her by the Company immediately prior to the Changs tn
Canirel,

Section 8.6 Effect on Plan Provisions.

In the event of a Change tn Control, na changes In the Plan, or in any documents
avidencing grants of Performance Shares, Performance Units, Restricted Shares,
Restricted Units, Stock Options, Steck Appreciation Righte, or Other ML & Co. Securitles
and no adiustments, determinations or other exercises of discretion by the Committee or
tha Board of Directors, that were made subsequent to the Change in Controf and that
would have the effect of diminishing a Partelpant's rights or his or her payments under
the Plan or this Article shall be effective, Including, but not limited to, any changes,
determinations or other exercises of discralion mada to or pursuant to the Plan. Once
Participant has received a payment pursuart to this Article Vill, shares of Common Stock

25

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 31 of 34
Case 4:09-cv-01799 Document 23-1 Filed in TXSD on 02/01/10 Page 33 of 35

that were reserved for issuance in connection with eny Performance Shares, Restricted
Shares, Stock Options, or Other MI. & Go, Securities for which payment is made shall no
longer be reserved and shares of Common Stock that are Restricted Shares or that are
restricted and held by the Company pursuant to Section 2.6(a)(j), for which payment has
been made, shall no longer be registered in the nama of the Participant and shall agala
be available for grants under the Plan. if the Participants employment Is terminated
without Cause or for Good Reason after a Change In Control, any election to defer
payment for Performance Shares ar Performance Units pursuant to Section 2.6 hereof or

Restricted Shares or Restricted Units pursuant to Section 3.8 hereof shall be null and
void.

' ARTICLE IX - MISCELLANEOUS,

Section 9.1 Designation of Beneficiary.

4 Participant, or the transferes of a Restricted Share, Restricted Unit or
Stock Option pursuant to Sections 3.9 or 4.4(d), may designate, in a writing dativerad ta
ML & Go. before his or her death, a person cr persons or entity or entitles to receive, in
the evant of his or her death, any rights to which he or she would be entitled under the
Plan, A Participant or Restricted Share, Restricted Unit er Stock Option transferee, may
also designate an alternate beneficiary to receive payments if the primary benelickary
does not survive the Participant or the transferee, A Participant or transferee may
designate more than cone person or entily as his or her beneficiary or alternate
beneficiary, in which case such beneficiaries would recelve payments as Joint tenants
with a right of survivorship. A beneficiary designation under the Plan will apply to future
grants unless changed or revoked by a Partisipant or the transferee by filing 4 written or
clactronic nofification of such change or revocation with the Company, {fa Participant
or transferee falls to designate a beneficiary, then his or her estate shail be deemed ia
be his or her beneficiary.

Section 9.2 Employment Rights.

Naitia? the Pian Nar any aetion taker hereunder shall be construed as giving any-
employee of the Company the right to become a Participant, and a grant under the Plan
shall not be construed as giving any Participant any right io be retained in the employ of
the Company.

Section 9.3 Nontransferability.

Except as provided in Sections 3.9 and 4.4(d), a Partlclpant’s rights under
the Plan, including the right to any amounts or shares payable, may not be assigned,
pledged, or atherwisa transferred excapt, in the evant of a Pasticipant’s death, to his or
her designated beneficiary or, In the absence of such a designation, by will or the laws of
descent and distribution.

Section 9.4 Withhalding.

The Company shall have the right, before any payment is made or a cortificate for
any shares ts delivered or any shares are oradited to any brokerage account, to deduct or

26

- Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 32 of 34
Case 4:09-cv-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 34 of 35

withhold from any payment under the Plan any federal, state, local or sacial security or
other taxes, Including transfer taxes, fequived by law to be withheld or to require the
Participant or his or her beneficiary cr esfate, as the case may be, to pay any amount, or
the balance of any amount, required to be withheld.

Section 9.5 Relationship to Other Benafits,

No payment under the Plan shall be taken into account in determining any benefits
under any retirement, group Insurance, or other employee benafit plan of the Company.
The Plan shall not preclyce the stockholders of ML & Co., the Board of Directors or any
committee thereof, or the Company from authorizing or approving cther employee benefit
plans or forms ef incentive compensation, nor shail it limit or prevent the continued
operation of other Incantive compensation plans or other employee benefit plans of ihe
Gompany or the particigation in any such plans by Participants In the Plan.

Section 9.6 No Trust or Fund Creafad.

Neither the Plan ner any grant made hereunder shall create or be construed to
create a trust or separate fur of any kind or a fiduciary relationship between tha
Company and a Particlpant or any other person. To the extent that any person acquires
a right to receive payments from the Company pursuant to a grant under the Pian, such
right shall be no greater than the right of any unsecured general creditor of the Company.

Section 9.7 Expenses.

The expenses of administering the Plan shall be borne by the Company.

Section 9.8 Indemnification.

Service on the Committee shall constitute service as a member of the Board of
Directors so that members of the Committee shall be entitled to indemnification and

yelmbursement as directors of ML & Co, pursuant to its Certificate of Incorporation, By- :
Laws, Of resolions Of [5 Board of Direcirs a7 stockholders. sm ts -

 

Saction 9.9 Tax Litigation,

The Company shall bave the right fo contest, at ts expense, any tax ruling or

decision, administrative or judicial, on any issue ihet is related to the Plan and that the

> Company belleves to be Important to Participants in the Plan and to conduct any such
contest or any [tigation arlsing therefrom to a final decision.

ARTICLE X - AMENDMENT AND TERMINATION,

The Board of Diracters or the Committee ‘but no other cornmilites of the Beard of
Directors} rmay modify, amend or terminate the Plan at any time. No modificaiton,
amendment or termination of the Plan shall have = material adverse effect on the sights

of a Participant under @ grant previously made to him without the consent of such
Particinant.

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Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 33 of 34
Case 4:09-cy-01799 Document 28-1 Filed in TXSD on 02/01/10 Page 35 of 35

ARTICLE Xl - INTERPRETATION,

' Section 11.1 Governmental and Other Requlations.
Tha Plan and any grant hereunder shall be subject fo all applicable federal, state

and local laws, rules, and regulationg and to such approvals by any regulatory or

governmental agency thet may, in the cpinlon of the counsel for the Company, be
required.

Section 11.2 Governing Law.

The Plan shall be construed and lis provisions enforced and administered in
accordance with the laws of tha State of New York applicable to contracts entered Into
and performed entiraly in such State,

ARTICLE Xl - EFFECTIVE DATE,

The Plan shail not be effective unless it Is approved by the Board of Directors of
the Corporation.

Case 3:15-cv-00175-RJC-DCK Document 1-4 Filed 04/20/15 Page 34 of 34
